

Matter of Gregory R. (2018 NY Slip Op 03840)





Matter of Gregory R.


2018 NY Slip Op 03840


Decided on May 30, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 30, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

RUTH C. BALKIN, J.P.
SANDRA L. SGROI
JOSEPH J. MALTESE
LINDA CHRISTOPHER, JJ.


2017-06638
 (Docket No. D-25477-16)

[*1]In the Matter of Gregory R. (Anonymous), appellant.


Seymour W. James, Jr., New York, NY (Dawne Mitchell and Raymond E. Rogers of counsel), for appellant.
Zachary W. Carter, Corporation Counsel, New York, NY (Daniel Matza-Brown of counsel; Patrick Hill on the brief), for respondent.



DECISION &amp; ORDER
In a proceeding pursuant to Family Court Act article 3, Gregory R. appeals from an order of disposition of the Family Court, Kings County (Alan Beckoff, J.), dated May 24, 2017. The order of disposition adjudicated Gregory R. a juvenile delinquent, upon an order of fact-finding of the same court dated March 2, 2017, made upon his admission, finding that he had committed acts on November 1, 2016, which, if committed by an adult, would have constituted the crime of assault in the third degree, and placed him on probation until May 24, 2018.
ORDERED that the appeal from so much of the order of disposition as placed the appellant on probation until May 24, 2018, is dismissed as academic, without costs or disbursements; and it is further,
ORDERED that the order of disposition is affirmed insofar as reviewed, without costs or disbursements.
The appeal from so much of the order of disposition as placed the appellant on probation until May 24, 2018, has been rendered academic, as the period of placement has expired. However, the appeal from so much of the order of disposition as adjudicated the appellant a juvenile delinquent has not been rendered academic, as there may be collateral consequences resulting from the adjudication of delinquency (see Matter of Kieron C., 140 AD3d 1160).
In this juvenile delinquency proceeding, the petition charged the appellant with committing acts on November 1, 2016, which, if committed by an adult, would have constituted the crimes of assault in the third degree and attempted assault in the third degree. In full satisfaction of the petition, the appellant admitted to having committed acts on November 1, 2016, which, if committed by an adult, would have constituted the crime of assault in the third degree. After a dispositional hearing, the appellant was adjudicated a juvenile delinquent and placed on probation until May 24, 2018.
Contrary to the appellant's contention, the Family Court did not improvidently [*2]exercise its discretion in denying his request for an adjournment in contemplation of dismissal (see Family Ct Act §§ 315.3, 352.2; Matter of Sheala H., 156 AD3d 882; Matter of Liston J., 81 AD3d 648). The juvenile delinquency adjudication was appropriate in light of the violent nature of the offense, the fact that the appellant had committed another violent offense approximately two months earlier, the appellant's school disciplinary history, and the probation department's recommendation (see Matter of Sheala H., 156 AD3d at 883; Matter of Liston J., 81 AD3d 648).
BALKIN, J.P., SGROI, MALTESE and CHRISTOPHER, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








